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 8
                         UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
                                               ) Case No. 2:20-cv-00645-FMO-AGR
11    TERRY FABRICANT and SYLVIA )
12    SCHICK, individually and on behalf of )
      all others similarly situated,           )
13
                                               )
14    Plaintiff,                               )
15
                                               )
             vs.                               )
16                                             )
17    INNOVATIVE MARKETING                     )
      ENTERPRISES, INC., and DOES 1            )
18    through 10, inclusive, and each of them, )
19                                             )
      Defendant.                               )
20
21
         NOTICE OF VOLUNTARILY DISMISSAL WITHOUT PREJUDICE
22
23          Now come the Plaintiffs, Terry Fabricant and Sylvia Schick, by and through
24    their attorneys, and respectfully request this Honorable Court enter an order
25
      dismissing this action without prejudice as to both Plaintiffs’ individual claims and
26
27    the putative class members’ claims, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i). The
28
      Defendant has not yet filed an answer.

                         NOTICE OF DISMISSAL WITHOUT PREJUDICE
                                               -1-
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 1
 2    Dated: June 3, 2020
 3                                                        Respectfully submitted,
 4
 5
                                    THE LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 6
 7
                                                        By: /s/ Todd M. Friedman
 8                                                      TODD M. FRIEDMAN, ESQ.
 9                                                      ATTORNEY FOR PLAINTIFF
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                       NOTICE OF DISMISSAL WITHOUT PREJUDICE
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 1                                  PROOF OF SERVICE
 2          I, the undersigned, certify and declare that I am over the age of 18 years,
 3
      employed in the County of Los Angeles, State of California, and not a party to the
 4
 5    above-entitled cause. On June 3, 2020, I served a true copy of the NOTICE OF
 6
      VOLUNTARILY DISMISSAL WITHOUT PREJUDICE on all counsel of record
 7
 8    via the ECF Filing System:
 9
      Executed on June 2, 2020, at Woodland Hills, CA
10
            [X ] I hereby certify that I am a member of the Bar of the United States
11
12    District Court, Central District of California.
13
            [] I hereby certify that I am employed in the office of a member of the Bar
14
15    of this Court at whose direction the service was made.
16
            [x] I hereby certify under the penalty of perjury that the foregoing is true
17
18    and correct.

19
20       By:         /s/ Todd M. Friedman
                     TODD M. FRIEDMAN, ESQ.
21
                     ATTORNEY FOR PLAINTIFF
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                         NOTICE OF DISMISSAL WITHOUT PREJUDICE
                                               -3-
